       Case 2:21-cv-00049-NJB-JVM Document 74 Filed 01/04/22 Page 1 of 3




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA
______________________________________________________________________________

URSULA NEWELL-DAVIS, et al.,                          Civil Action No. 2:21-cv-00049-NJB-JVM
                              Plaintiffs,
               v.                                     JUDGE NANNETTE JOLIVETTE
                                                               BROWN
                                                      MAGISTRATE JUDGE JANIS VAN
                                                               MEERVELD
COURTNEY N. PHILLIPS, in her official
capacity as Secretary of the Louisiana
Department of Health, et al.,
                              Defendants.
_____________________________________________________________________________

                         NOTICE OF FILING A MOTION TO SEAL

       Pursuant to Local Rule 5.6, Plaintiffs Ursula Newell-Davis and Sivad Home and

Community Services, LLC file this Notice of a motion to file certain documents under seal.

Plaintiffs have filed or shortly will file a Motion for Summary Judgment, together with a

Memorandum in Support and accompanying exhibits. Defendants have designated some of the

exhibits Confidential under the Stipulated Protective Order entered by the Court (ECF No. 41).

Although Plaintiffs believe that the public interest favors unsealing the exhibits, so as to comply

with the Protective Order, they move for leave to file the exhibits under seal.
     Case 2:21-cv-00049-NJB-JVM Document 74 Filed 01/04/22 Page 2 of 3




DATED: January 4, 2022
                                              Respectfully submitted,

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                                Counsel for Plaintiffs
       Case 2:21-cv-00049-NJB-JVM Document 74 Filed 01/04/22 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on January 4, 2022, I electronically filed the foregoing document with

the Clerk of the Court via the CM/ECF system, which will cause a copy to be served upon counsel

of record.

                                                             /s/ Anastasia P. Boden
                                                             ANASTASIA P. BODEN
